Int. Cls.: 8, 12, 18, 25 and 28

Case: 1:19-cv-05471 Document #: 1-1 Filed: 08/14/19 Page 1 of 5 PagelD #:14

Prior U.S. Cls.: 1, 2, 3, 19, 21, 22, 23, 28, 31, 35,

38, 39, 41, 44 and 50

United States Patent and Trademark Office

Reg. No. 2,258,778
Registered July 6, 1999

TRADEMARK
PRINCIPAL REGISTER

CANNONDALE

CANNONDALE CORPORATION (DELAWARE
CORPORATION)

9 BROOKSIDE PLACE

GEORGETOWN, CT 068290122

FOR: HAND TOOLS FOR BICYCLE MAINTE-
NANCE AND REPAIR, NAMELY, SCREW-
DRIVERS, WRENCHES AND MULTICOMPON-
ENT POCKET TOOLS COMPRISING ALLEN
KEYS AND SCREW DRIVERS, IN CLASS 8
(U.S. CLS. 23, 28 AND 44).

FIRST USE 1-0-1988; IN COMMERCE
1-0-1988.
FOR: BICYCLE WATER CAGES AND

WATER BOTTLES SOLD THEREWITH, IN
CLASS 12 (U.S. CLS. 19, 21, 23, 31, 35 AND 44).

FIRST USE 12-0-1975; IN COMMERCE
12-0-1975.

FOR: CARRIER PACKS, NAMELY, BACK-
PACKS, COURIER BAGS, WAISTPACKS
DUFFLE BAGS, AND HYDRATION BAGS, IN
CLASS 18 (U.S. CLS. 1, 2, 3, 22 AND 41).

FIRST USE
12-0-1975,

FOR: CLOTHING—NAMELY, JACKETS,
VEST, HATS, SHIRTS, SHORTS, SOCKS,
SHOES, AND RAINWEAR, ALL DESIGNED
FOR BICYCLING, IN CLASS 25 (U.S. CLS, 22
AND 39).

FIRST USE
1-0-1976.

FOR: BICYCLE GLOVES, IN CLASS 28 (U.S.
CLS. 22, 23, 38 AND 50).

FIRST USE 1-0-1982:
1-0-1982.

OWNER OF USS.
1,680,244, AND 2,007,769,

12-0-1975; IN COMMERCE

1-0-1976, IN COMMERCE
IN| COMMERCE

REG. NOS. 1,181,139,

SER. NO. 75-375,771, FILED 10-20-1997,

ANITA ODONOVICH, EXAMINING ATTOR-
NEY
Case: 1:19-cv-05471 Document #: 1-1 Filed: 08/14/19 Page 2 of 5 PagelD #:14

Int. CL: 12

Prior U.S. Cls.: 19, 21, 23, 31, 35 and 44
Reg. No. 2,531,404

United States Patent and Trademark Office Registered Jan. 22, 2002

TRADEMARK
PRINCIPAL REGISTER

CANNONDALE

CANNONDALE CORPORATION (DELAWARE FIRST USE 12-0-1975; IN COMMERCE 12-0-1975.
CORPORATION)
9 BROOKSIDE PLACE

GEORGETOWN, CT 068290122 OWNER OF USS. REG. NOS. 1,181,139, 1,680,244,

FOR: BICYCLES, BICYCLE COMPONENTS AND 2,007,769.

NAMELY, BRAKES, CRANKSETS, PEDALS,

FRAMES, HUBS, SADDLES, SEATPOSTS, STEMS,

BAR ENDS, WHEELS, FORKS AND SHOCK AB- SER. NO. 75-980,639, FILED 10-20-1997.
SORBERS, AND CARRIER PACKS FOR ATTACH-

MENT TO BICYCLES, IN CLASS 12 (U.S. CLS. 19, 21,

23, 31, 35 AND 44). CATHERINE CAIN, EXAMINING ATTORNEY
Case: 1:19-cv-05471 Document #: 1-1 Filed: 08/14/19 Page 3 of 5 PagelD #:14

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Reg. No. 3,904,530
Registered Jan. 11, 2011
Int. CL: 25

TRADEMARK
PRINCIPAL REGISTER

 

Director of the United States Patent and ‘I’vademark Office

 

CYCLING SPORTS GROUF, INC. (DELAWARE CORPORATION)
16 TROWBRIDGE DRIVE
BETHEL, CT 06801

FOR: CLOTHING, NAMELY, HATS ALL DESIGNED FOR BICYCLING, IN CLASS 25 (U.S.
CLS. 22 AND 39).

FIRST USE 8-15-2010; IN COMMERCE 8-15-2010.
OWNER OF USS. REG. NOS. 1,032,202, 2,531,404, AND OTHERS.

NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "USA", APART FROM THE
MARK AS SHOWN.

SN 76-674,105, FILE] 3-15-2007.

WILLIAM VERIIOSLK, EXAMINING ATTORNEY
Case: 1:19-cv-05471 Document #: 1-1 Filed: 08/14/19 Page 4 of 5 PagelD #:14

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Antted States Patent and Trademark Office lly

Reg. No. 4,316,187 CYCLING SPORTS GROUP, INC. (DELAWARE CORPORATION)
16 TROWBRIDGE DRIVE

Registered Apr. 9, 2013 BETHEL, cT 06801

Int. Cl.: 9 FOR: HELMETS FOR BICYCLES; REFLECTIVE AND ILLUMINATED CLOTHING FOR
SAFETY PURPOSES; SPORTS GOGGLES FOR USE IN BICYCLING; SPORTS EYEWEAR;
DUST PROTECTIVE GOGGLES AND MASKS; SUNGLASSES AND ODOMETERS,

TRADEMARK SPEEDOMETERS AND TACHOMETERS FOR BICYCLES, IN CLASS 9 (U.S. CLS. 21, 23,
26, 36 AND 38).

PRINCIPAL REGISTER
FIRST USE 8-23-2011; INCOMMERCE 8-23-2011.

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

OWNER OF U.S. REG. NOS. 1,032,202, 2,531,404 AND OTHERS.
SER. NO. 85-670,432, FILED 7-6-2012.

TINA MAT, EXAMINING ATTORNEY

 

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Acting Director of the United Siates Patent and Trademark Office
Case: 1:19-cv-05471 Document #: 1-1 Filed: 08/14/19 Page 5 of 5 PagelD #:14

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CANNONDALE

Reg. No. 4,576,919
Registered July 29, 2014

Int. Cl.: 35

SERVICE MARK
PRINCIPAL REGISTER

 

Vit ctth, Ko Lo

Deputy Director of the United States
Patent and Trademark Office

CYCLING SPORTS GROUP, INC. (DELAWARE CORPORATION)
16 TROWBRIDGE DRIVE
BETHEL, CT 06801

FOR: RETAIL STORE SERVICES FEATURING BICYCLES AND BICYCLING-RELATED
ACCESSORIES AND CLOTHING, IN CLASS 35 (U.S. CLS. 100, 101 AND 102).

TIRST USE 6-14-2013; IN COMMERCE 6-14-2013.

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

SN 85-904,703, FILED 4-15-2013.

JANICE KIM, EXAMINING ATTORNEY
